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 3   2500 Tulare Street
     Fresno, California 9372l
 4   Telephone: (559) 497-4000

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 8               IN THE UNITED STATES DISTRICT COURT FOR THE

 9                       EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,          )       1:10-CR-380 LJO
                                        )
12                  Plaintiff,          )
                                        )
13        v.                            )       STIPULATION RE:
                                        )       CONTINUANCE AND ORDER
14   CARLOS MARTINEZ,                   )         (note time change)
                                        )
15                                      )
                    Defendant.          )
16   ___________________________________)

17        Defendant CARLOS MARTINEZ, by and through his attorney, ERIC

18   KERSTEN, and the United States of America, by and through its

19   attorneys, BENJAMIN B. WAGNER, United States Attorney, and KAREN

20   A. ESCOBAR, Assistant United States Attorney, hereby enter into

21   the following stipulation:

22        1.   The parties to the above-captioned matter agree to vacate

23   the November 28, 2011, sentencing date and reset the matter for

24   December 5, 2011, at 1:30 p.m.

25        2.   The parties stipulate that the continuance is necessary

26   to determine eligibility for safety valve relief.          While Defendant

27   has provided some information about the offense, he has not

28   provided complete information.      Defendant’s incarceration at Lerdo

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 1   has also made it more difficult for his attorney to communicate

 2   with him.

 3   DATED: November 22, 2011                      Respectfully submitted,

 4                                                  BENJAMIN B. WAGNER
                                                    United States Attorney
 5
                                                    By: /s/ Karen A. Escobar
 6                                                    KAREN A. ESCOBAR
                                                    Assistant U.S. Attorney
 7

 8                                                      /s/ Eric Kersten
                                                        ERIC KERSTEN
 9                                                      Attorney for Defendant
                                                        CARLOS MARTINEZ
10
                                     O R D E R
11
              Having read and considered the foregoing stipulation, the
12
     current hearing date of November 28 is hereby vacated in this
13
     matter and is reset for December 5, 2011, at 2:30 p.m.
14
                                    IT IS SO ORDERED.
15
     Dated:     November 22, 2011            /s/ Lawrence J. O'Neill
16   b9ed48                              UNITED STATES DISTRICT JUDGE

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